
HOUSTON, Justice.
By quashing this writ, we do not decide petitioner’s challenge on equal protection grounds of the constitutionality of § 25-5-57(a)(4)b., Code 1975. Due to the posture of this case, we cannot review this issue. Barger v. Barger, 410 So.2d 17 (Ala.1982); Guy v. Southwest Alabama Council on Alcoholism, 475 So.2d 1190 (Ala.Civ.App.1985).
WRIT QUASHED AS IMPROVIDENTLY GRANTED.
TORBERT, C.J., and MADDOX, ALMON, SHORES, BEATTY, ADAMS and STEAGALL, JJ., concur.
